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                                   UNITED STATES DISTRICT COURT
10
                                NORTHERN DISTRICT OF CALIFORNIA
11
                                           SAN JOSE DIVISION
12                                                                        *E-FILED - 8/23/06*

13   UNITED STATES OF AMERICA,                     )       No. CR 06-00425 RMW
                                                   )
14          Plaintiff,                             )
                                                   )       STIPULATION AND []
15              v.                                 )       ORDER EXCLUDING TIME
                                                   )
16   CHRISTINA MARIE FLORES, and                   )
     JOSE LITO CAMPOS,                             )
17                                                 )       SAN JOSE VENUE
            Defendants.                            )
18                                                 )
19
20      On July 24, 2006, the parties in this case appeared before the Court for an initial appearance.

21   Assistant United States Attorney Susan Knight informed the Court that the government would

22   provide discovery to both defense counsel as soon as possible. Therefore, the parties jointly

23   requested that the case be continued to August 28, 2006 at 9:00 a.m. in order for both defense

24   counsel to review the discovery. In addition, the parties requested an exclusion of time under the

25   Speedy Trial Act from July 24, 2006 until August 28, 2006. Defendant Flores, through her

26   attorney, J.A. Hudson, agreed to the exclusion. Defendant Campos, through his attorney

27   Assistant Federal Public Defender Cynthia Lie, agreed to the exclusion. The parties agree and

28   stipulate that an exclusion of time is appropriate based on the defendant’s need for effective


     STIPULATION AND [ ORDER
     NO . 06-00074 RMW                                 1
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1    preparation of counsel.
2    SO STIPULATED:                                KEVIN V. RYAN
                                                   United States Attorney
3
4    DATED:                                        _______/s/__________________________
                                                   SUSAN KNIGHT
5                                                  Assistant United States Attorney
6
     DATED:                                        _______/s/__________________________
7                                                  CYNTHIA C. LIE
                                                   Assistant Federal Public Defender
8                                                  Counsel for Mr. Campos
9
     DATED:                                        _______/s/__________________________
10                                                 J.A. HUDSON
                                                   Counsel for Ms. Flores
11
12
        Accordingly, for good cause shown, the Court HEREBY ORDERS that time be excluded
13
     under the Speedy Trial Act from July 24, 2006 until August 28, 2006. The Court finds, based on
14
     the aforementioned reasons, that the ends of justice served by granting the requested continuance
15
     outweigh the best interest of the public and the defendant in a speedy trial. The failure to grant
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     the requested continuance would deny defense counsel reasonable time necessary for effective
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     preparation, taking into account the exercise of due diligence, and would result in a miscarriage
18
     of justice. The Court therefore concludes that this exclusion of time should be made under 18
19
     U.S.C. §§ 3161(h)(8)(A) and (B)(iv).
20
     SO ORDERED.
21
22
            8/23/06
     DATED:______________                           /s/ Ronald M. Whyte
                                                   ________________________________________
23                                                 RONALD M. WHYTE
                                                   United States District Judge
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     STIPULATION AND [] ORDER
     NO . 06-00074 RMW                                2
